Case 2:19-cv-00298-BSJ    Document 456        Filed 08/17/22   PageID.24364         Page 1 of
                                          2



                                                                    IN UNITED STATES DISTRICT
                                                                  COURT, DISTRICT Of UTAH

                    IN THE UNITED STATES DISTRICT COURT
                                                                              17
                          FOR THE DISTRICT OF UT AH    - ~l~:~~~
                                                                ey ____r5r-Pi'nv'.~~--
                                                                        DEPUTY CU'::RI(


 BUREAU OF CONSUMER FINANCIAL
                                                       Case No. 2:19-cv-00298-BSJ
 PROTECTION,

       Plaintiff,
                     v.

 PROGREXION MARKETING, INC., et al.,

       Defendants.


                                                ORDER

       On August 9 and 10, 2022, the Court held in-person hearings on various

 pending motions, including Plaintiffs Motion to Exclude the Expert Report and

 Testimony of John Ulzheimer (ECF No. 222), Defendants' Motion to Exclude the

 Expert Testimony of Allen Weinberg (ECF No. 360), Plaintiffs Motion to Exclude

 Expert Testimony of Stephen Mott (ECF No. 368), and Plaintiffs Motion to

 Exclude Testimony of Defendants' Proffered Expert Victor Stango (ECF No. 373).

       Defendants have withdrawn John Ulzheimer and are no longer proffering his

 testimony in this case. Therefore, Plaintiffs motion to exclude Mr. Ulzheimer

 (ECF No. 222) is DENIED AS MOOT.
Case 2:19-cv-00298-BSJ     Document 456         Filed 08/17/22        PageID.24365   Page 2 of
                                            2




        Because his testimony will not help the trier of fact to understand the

 evidence or to determine a fact in issue, and on consideration of the entire record,

 the Court GRANTS Defendants' Motion to Exclude the Expert Testimony of Allen

 Weinberg (ECF No. 360). Mr. Weinberg is hereby excluded from offering expert

 testimony at trial.

       In light of the Court's exclusion of Mr. Weinberg, Defendants have

 withdrawn Stephen Mott, who was offered only to rebut Mr. Weinberg. Therefore,

 Plaintiff's motion to exclude Mr. Mott (ECF No. 368) is DENIED AS MOOT.

       Because his testimony will not help the trier of fact to understand the

 evidence or to determine a fact in issue, and on consideration of the entire record,

 the Court GRANTS Plaintiff's Motion to Exclude Testimony of Defendants'

 Proffered Expert Victor Stango (ECF No. 373). Dr. Stango is hereby excluded

 from offering expert testimony at trial.




 Dafed 1
                                                 United States,}~istjt Judgg
                                                                 I ,,.../
                                                                 ~w.~"#




                                            2
